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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


KERRY WOLONGEVICZ,
                                                                    STIPULATION OF DISMISSAL
                       Plaintiff,                                   PURSUANT TO FRCP 41
 V.

                                                                    Case No: 5: 17-CV-933 (BKS/DEP)
TOWN OF MANLIUS; MANLIUS POLICE DEPARTMENT;
VILLAGE OF MANLIUS; MANLIUS FIRE DEPARTMENT;
CAP TAIN KEVIN SCHAFER; CHIEF PINSKY;
CHIEF OF POLICE FRANCIS MARLOW; INVESTIGATOR
JAMES GALLUP ; OFFICER ROSS CARNIE; CAP TAIN
JEFF PECKINS; SGT. CHRISTOPHER CUSHMAN;
BENJAMIN SCHMID; JOHN DOE(S) and JANE DOE(S),

                       Defendants.



         IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the

attorneys of record for all the parties to the above-entitled action, that whereas no party hereto is

an infant or incompetent person for whom a committee has been appointed and no person not a

party has an interest in the subject matter of the action, the above-entitled action be, and the same

hereby is, discontinued on the merits, with prejudice, without costs to either party as against the

other.

         This Stipulation may be filed without further notice with the Clerk of the Court.
     Case 5:17-cv-00933-BKS-ML Document 109 Filed 10/02/20 Page 2 of 2




DATED:                  21 2020
              September _,



BOSMAN LAW FIRM, LLC                        BURDEN, HAFNER & HANSEN, LLC



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            sman, Esq.                             Sarah E. Hansen, Esq.
     At rneysfor Plaintiff Kerry                    Attorneys for Defendants Town of
     Wolongevicz                                    Manlius, Manlius Police Department,
     3000 McConnellsville Road                      Captain Kevin Schafer, Chief of
     Blossvale, New York 13308                      Police Francis Marlowe (incorrectly
     (315) 820-4417                                 named as Francis Marlow),
                                                    Investigator James Gallup, Officer
                                                    Ross Carnie, Captain JeffPeckins,
                                                    and Sgt. Christopher Cushman
                                                    605 Brisbane Building
                                                    403 Main Street
                                                    Buffalo, New York 14203
                                                    (716) 849-6800


                                            LITTLER MENDELSON, P.C.



                                            By:--------------
         David H. Walsh, IV, Esq.               Jacqueline Phipps Polito, Esq.
         Attorneys for Village of Manlius       Abigail L. Giarrusso, Esq.
         4615 North Street                      Attorneys    for     Manlius   Fire
         Jamesville, New York 13078             Department, Chief Pinsky and
         (315) 492-3000                         Benjamin Schmid
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                                                     10/2/2020
